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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF RHODE ISLAND

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THE ESTATE OF YARON UNGAR, C.A. NO. 00-105L
AND OTHERS

VS. PROVIDENCE, R.I.

JUNE 7, 2002

THE PALESTINIAN AUTHORITY AND THE
PALESTINIAN LIBERATION ORGANIZATION

BEFORE SENIOR DISTRICT JUDGE RONALD R.LAGUEUX

APPEARANCES:
FOR THE PLAINTIFFS: DAVID J. STRACHMAN, ESQ
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JUNE 7, 2002 - MORNING SESSION

THE COURT: Good morn1ng, everyone. The
matter before the Court 1s C1v1l Act1on 2000-105 L, the
Estate of Yaron Ungar, and others versus the
Palest1n1an Author1ty and the Palest1n1an L1berat1on
Organ1zat1on. The matter 1s here on defendant's mot1on
to d1sm1ss the compla1nt. W1ll the attorneys 1dent1fy
themselves for the record please.

MR. STRACHMAN: Dav1d Strachman for the
pla1nt1ffs.

MR. SCHILLING: Lawrence Sch1ll1ng, your
Honor, for the defendants.

MR. SHERMAN: Dem1ng Sherman for the
detendants.

THE COURT: All r1ght. It's the mot1on of
the defendants. So I'll hear that s1de f1rst.
Mr. Sch1ll1ng.

MR. SCHILLING: ThanK you, your Honor, Your
Honor, Mr. Clark lead counsel 1s unable to be here. He
asked me to express h1s regrets to you and to send h1s
regards. As your Honor 1nd1cated, we have on the table
today the defendant's mot1on to d1sm1ss the amended
compla1nt wh1ch carr1es w1th 1t a request, 1n the
alternat1ve, for cert111cat1on of an 1nterlocutory

appeal. We also have pend1ng a mot1on to assert

 

 

 

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defenses under Sect1on 2337-2 of T1tle 18 wh1ch 1s part
of the statute 1nvolved here as well as sovere1gn
1mmun1ty.

THE COURT: Well, that's an aff1rmat1ve
defense and we haven't reached that stage of the case
yet.

MR. SCHILLING: Well, your Honor, I th1nK
that 2337 goes e1ther to subject matter jur1sd1ct1on,
or to legal suff1c1ency of the cla1m because the
language of the statute beg1ns, "No act1on shall be
ma1nta1ned..." And 1n the leg1slat1ve h1story that the
pla1nt1ffs called to our attent1on, there 1s the
statement by Mr. Kresco that no cause of act1on for
1nternat1onal terror1sm eX1sts aga1nst fore1gn states.
So the pla1nt1ffs --

THE COURT: Well, that depends on the facts,
the facts as developed. And on a mot1on to d1sm1ss I
only determ1ne the suff1c1ency of the compla1nt.

MR. SCHILLING: Well, 1f 1t's a quest1on of
1mmun1ty. If the defendants are correct 1n the1r
argument that Palest1ne 1s a fore1gn state, I th1nK the
appl1cat1on of 2337 becomes pretty clear.

THE COURT: Well, that mot1on 1s really not
before me, I'm not cons1der1ng 1t. I'm only

cons1der1ng the mot1on to d1sm1ss today.

 

 

 

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MR. SCHILLING: I'd also po1nt out, your
Honor, as I th1nK we ment1oned 1n one of our mot1ons
for a protect1ve order, that --

THE COURT: Well, that's not before me

e1ther.

MR. SCHILLING: I understand. But the
cert1f1cat1on may be unnecessary. If the -- because
the den1al of an 1mmun1ty defense -- defense for

sovere1gn 1mmun1ty 1s appealable, d1rectly appealable,
as an 1nterlocutory order. So 1 th1nK that that's, you
Know, an add1t1onal wr1nkle here. The mot1on to
d1sm1ss asserts 1n part that the, that the cla1ms of
the pla1nt1ffs are nonjust1c1able and, bas1cally, the
cla1ms are that there's been an 1nadequate exerc1se of
pol1ce power by the Palest1n1an author1ty and the PLO.
The relat1onsh1p 1n fa1l1ng to prevent the 1nc1dent
that occurred to the Ungars, and 1n fa1l1ng to control
HAMAS generally.

THE COURT: Well, that all ra1ses factual
matters. I can't make factual f1nd1ngs at th1s po1nt
1n the l1t1gat1on. That's go1ng to requ1re d1scovery,
1t's go1ng to requ1re the development of the facts,

I'm here only to judge the suff1c1ency of the compla1nt
on a mot1on to d1sm1ss.

MR. SCHILLING: Yeah, but you --

 

 

 

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THE COURT: You could have answered the
case. You could have asserted defenses, and you could
have then made a mot1on for summary judgment at the
appropr1ate t1me 1f you thought you had the factual
matters not 1n d1spute would result 1n that
d1spos1t1on. But here, th1s 1s a mot1on to d1sm1ss and
1t's very l1m1ted. And the case that you sent me
yesterday from the Seventh C1rcu1t that was just
dec1ded a couple of days ago stresses that. And all
that's necessary 1s a short conc1se statement of the
cause of act1on by the pla1nt1ffs 1n th1s case. And 1f
they‘ve stated a cause of act10n that could be
supported by facts, then the compla1nt surv1ves. Then
1t's a factual matter.

MR. SCHILLING: Well, 1 recognjze that, your
Honor, But the 1ssues that are ra1sed, th1s compla1nt,
1s actually, 1n order to see 1ts full pol1t1cal effect
needs to be seen as related to two other act1ons that
are 1n the D1str1ct of Columb1a be1ng brought also
aga1nst the PA, the PLO, and off1c1als.

THE COURT: Well, I'm not concerned w1th
those two act1ons, I'm concerned w1th th1s one and
whether a cause of act1on has been stated.

MR. SCHILLING: Well, the --

THE COURT: I've already ruled that a cause

 

 

 

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of act1on was stated under the Ant1-Terror1sm Statute.

MR. SCHILLING: Yes, s1r, and --.

THE COURT: I've already ruled on that.

MR. SCHILLING: -- and we've asked you to
recons1der that 1n the mot1on, and ask that there be a
cert1f1cat1on of that matter for an 1nterlocutory
appeal as d1d happen 1n the Bo1m Case.

THE COURT: So, your mot1on really comes
down to a d1scuss1on of whether there 1s a cause of
act1on stated 1n each of the separate counts under
Israel1 Law. That's what 1t amounts to. And you're
tell1ng me there 1s no just1c1able controversy 1n that
area?

MR. SCHILLING: No, we're say1ng that when
th1s case 1s v1ewed together w1th the other cases,
what's seen here 1s that there's been an all out
attack, largely pol1t1cal, on the PLO and the PA.

The act1ons 1n D.C. 1nvolve an 1nc1dent -- carefully
selected, 1nvolve an 1nc1dent 1n the GASA Str1p, and
another 1nc1dent 1n East Jerusalem, so that the three
cases all together br1ng 1n the ent1re Palest1n1an
Leadersh1p, and the charges aga1nst them are very
extreme and almost`1mposs1ble to prove or d1sprove.

THE COURT: Well, that's the problem.

MR. SCHILLING: But that's what makes --

 

 

 

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THE COURT: Theoret1cally there may be a
cause of act1on here, but then 1t may be very d1ff1cult
to prove. But that's someth1ng that we'll have to face
at some later t1me.

MR. SCHILLING: Well, except that
nonjust1c1ab1l1ty often 1s recogn1zed when there 1s a
lack of jud1c1al standards by wh1ch to judge the 1ssues
that are be1ng tendered. Now, the extent to wh1ch the
PA and the PLO should have controlled, 1f that's the
r1ght word, HAMAS, ra1ses all sorts of pol1t1cal
cons1derat1ons 1nclud1ng popular support for the PA and
the PLO. And, 1t's, you know, 1t's someth1ng that I
th1nk a court w1ll be unable to judge. And that's why
we make the argument. I would l1ke to return though,
your Honor, to the quest1on of 1mmun1ty and the effect
of Sect1on 2337--

THE COURT: All r1ght.

MR. SCHILLING: -- because I do th1nk that
those should be cons1dered at th1s t1me. I would po1nt
out that on that mot1on, the pla1nt1ffs opposed
grant1ng leave for the Court to cons1der these matters,
but d1d not reach the mer1ts themselves. They sa1d
they'd hold back on 1t. Now we've ra1sed these matters
1n the two act1ons down 1n the D1str1ct of Columb1a and

the answer to these defenses 1s due 1n one of these

 

 

 

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l cases on June 23. There's also 1n the D1str1ct of

2 Columb1a, your Honor, a case brought by these

3 pla1nt1ffs aga1nst Iran, Ungar versus Iran. 1t's got
4 some parallels to th1s case. For example, there's been
5 a mot1on 1n that case for the Court to s1gn a jud1c1al
6 request under the Hague Convent1on for documents. 1

7 bel1eve your Honor has a request of that k1nd 1n th1s

 

8 case. The request was granted down 1n D.C. so 1t

 

9 really moots the request here. The Court down 1n D.C.g&v{
10 1 th1nk observed that the act1on up here was not called
11 to 1ts attent1on by the part1es. And so far as 1 know,
12 the case down 1n D.C. hasn't been called to your

13 attent1on e1ther. But we learned of 1t fa1rly

14 recently. We th1nk that there's no real quest1on that
15 the -- excuse me, That the PA and the PLO meet the

16 def1n1t1on of estate as 1t's set forth 1n the

17 restatement of Amer1can Fore1gn Law. 1t's an ent1ty

18 that has a def1ned terr1tory, a permanent populat1on,
19 1t‘s under the control of 1ts own Government, and

20 engages 1n and has the capac1ty to engage 1n formal

21 relat1ons w1th other Governments.

22 THE COURT: But that requ1res a development
23 of facts. 1 don't accept those facts.

24 MR. SCHILLING: Well, --

25 THE COURT: 1 don't accept those facts as

 

 

 

 

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true. 1 don't have any way of judg1ng them, they'll
have to be developed.

MR. SCHILLING: Well, we would request that
they be developed, your Honor, because the quest1on of
1mmun1ty.

THE COURT: Well, that has no bear1ng on a
mot1on to d1sm1ss. We'll develop those after the
mot1on to d1sm1ss 1s den1ed and th1s case moves on --

MR. SCHILLING: Yeah, but the quest1on ~-

THE COURT: -- and there's d1scovery.

MR. SCHILLING: The quest1on of 1mmun1ty and
a quest1on of th1s sort, as we say, goes -- may well go
to subject matter jur1sd1ct1on. And, generally
speak1ng, a defense of 1mmun1ty needs to be d1sposed of
before there 1s any d1scovery, except for d1scovery
that may be necessary to determ1ne the 1ssue 1tself.

THE COURT: That's r1ght. That's just what
1'm tell1ng you.

MR. SCHILLING: Yes.

THE COURT: That's just what 1'm tell1ng
you, those facts w1ll have to be developed so that 1
can make a dec1s1on on whether there's sovere1gn
1mmun1ty 1n th1s case.

MR. SCHILLING: 1 guess what 1'm react1ng to

1s there 1s a -- there are d1scovery requests that the

 

 

 

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pla1nt1ff has made that covered the waterfront and 1'm
1 guess --

THE COURT: Well, those w1ll be dealt w1th
later by the Mag1strate Judge. R1ght now, 1'm
concerned w1th a mot1on to d1sm1ss the second
compla1nt. The amended compla1nt that sets forth a
cause of act1on under the Ant1-Terr0r1sm Statute and
sets forth three causes of act1on under 1srael1 Law
pursuant to my pr1or dec1s1on.

MR. SCHILLING: 1 guess the po1nt 1'm mak1ng
though, your Honor, 1s that there should be a -- on a
mot1on to d1sm1ss the Court has the opt10n and
d1scret1on to make whatever factual 1nqu1r1es may seem
appropr1ate, and 1'm --

THE COURT: No, 1 can't. 1 can't make
factual determ1nat1ons on a mot1on to d1sm1ss. 1 have
to accept the plead1ngs as true.

MR. SCHILLING: But you have the opt1on to
treat 1t as a mot1on, say for summary judgment and take
1nto account.

THE COURT: Oh, well, 1f we're go1ng to
treat 1t as a mot1on for summary judgment we're go1ng
to have a lot, a lot, of pretr1al d1scovery.

MR. SCHILLING: But, what I‘m say1ng --

THE COURT: We're go1ng to have a lot of

 

 

 

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d1scovery and we're not go1ng to try 1t as a battle of
aff1dav1ts.

MR. SCHILLING: What 1'm say1ng, your Honor,
1s that the effect of Sect1on 2337 should be g1ven
pr1or1ty. And 1f there's any d1scovery, -~ 1'm not sure
what d1scovery 1s necessary because they haven't
responded to the arguments. They haven't sa1d why they
th1nk that the Palast1ne Author1ty 1s not, 1s not a
fore1gn state. 1f 1t 1s a fore1gn state, the
appl1cat1on of 2337 seems stra1ghtforward. No act1on
shall be ma1nta1ned aga1nst 1t. And 1 subm1t that
that's someth1ng that needs to be adjud1cated f1rst.
And 1f that mot1on -- 1f that defense 1s den1ed, 1'm
not sure 1t's a defense, 1t may go to subject matter or
legal suff1c1ency. There's an 1nterlocutory appeal as
of r1ght. And for that reason 1 th1nk that 1t should
get pr1or1ty.

THE COURT: All r1ght.

MR. SCHILLING: Thank you, your Honor.

THE COURT: Mr. Strachman.

MR. STRACHMAN: Thank you, your Honor.
Judge, your Honor, 1 don't want to repeat what we
extens1vely br1efed, both part1es extens1vely br1efed,
but 1 th1nk what's s1gn1f1cant 1s, as your Honor framed

the 1ssue today as to what 1s before us today.

 

 

 

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A s1mple, the second mot1on to d1sm1ss that was f1led
after we f1led our amended compla1nt. As to that
mot1on, and 1 say th1s respectfully, v1rtually noth1ng
that my brother just ment1oned 1s relevant to that
mot1on, There may be another mot1on he wants to f1le,
there may be all k1nds of 1ssues w1th d1scovery and
other potent1al cases. 1t has noth1ng to do w1th the
1ssues that they ra1se 1n the1r second mot1on to
d1sm1ss the amended compla1nt. They ra1se no 1ssues 1n
that mot1on as to the suff1c1ency of the three 1srael1
causes of act1on. 1n fact, they v1rtually do not
ment1on them 1n the1r ent1re br1ef. What they do say 1s
that there no just1c1able standard. And 1 would just
d1rect the Court to the Kl1nghoffer Case when the same
1ssue was ra1sed, the same argument, by same counsel
w1thout the benef1t of our present statute. The
Kl1nghoffers were murdered, 1 bel1eve, -- Kl1nghoffer
was murdered 1n 1986. 0ur statute was enacted 1n 1991,
and then aga1n 1n '92. There 1s 1n that case, the
Second C1rcu1t sa1d, "We're faced w1th an 0rd1nary tort
su1t.'l And that's exactly what we have here, a very
ord1nary tort su1t. It has noth1ng to do w1th the
pol1t1cal movement or pol1t1cal causes, 1t has to do
w1th a s1mple murder of a young man and h1s w1fe, and

whether 1n fact we can prove the standards that are

 

 

 

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clearly demarcated 1n the statute. And we have very
clear def1n1t1onal statutes, 2333 and 2339 clearly
def1ne what the standards are for th1s Court to make an
1nqu1ry at tr1al.

THE COURT: Now you're talk1ng about the
Ant1-Terror1sm Act?

MR. STRACHMAN: That's r1ght.

THE COURT: You're not talk1ng about the
1srael1 cause of act1on?

MR. STRACHMAN: That's r1ght. But even 1n the
Israel1 cause of act1on, as we've demonstrated 1n our
br1ef, those causes of act1on were bas1cally
cod1f1cat1on of Br1t1sh and Amer1can Common Law. Very
s1mple cla1ms for negl1gence, et cetera. And my
Brother's ra1se the argument 1n the1r br1ef that there
are no standards. The standards are very clear,
they're crystal clear. They were so clear that
Kl1nghoffer, w1thout the benef1t of our present
statute, and w1thout a def1n1t1on of 1nternat1onal
Terror1sm, and w1thout the whole leg1slat1ve h1story
and whole body of law regard1ng the terror1sm
leg1slat1on, sa1d that clear and well settled rules of
law can eas1ly ~- wh1ch can eas1ly be rel1ed on can be
ut1l1zed 1n that case. All the more so now when we

fast forward several years later and have the benef1t

 

 

 

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of the ant1-terror1sm leg1slat1on. The attempt by the
defendants to make th1s 1nto a pol1t1cal case has -~
there's just no bas1s for 1t. 1t's a very s1mple
cla1m, 1t should be tr1ed 1n a s1mple manner. 1t's no
d1fferent than numerous other cases that happen to
1nvolve people who end up 1n the newspapers everyday.
The mere fact that they're 1n the newspapers, the mere
fact -- and 1 say that because we've repeatedly had
cl1pp1ngs of the New York T1mes attached to br1efs as
to where Mr. Arafat 1s, and whether he can respond on
t1me, et cetera. That has noth1ng to do w1th 1t.
E1ther they are respons1ble under the law and we can
peg them to the categor1es and def1n1t1ons of the law
or we can't. And 1 agree w1th, 1 th1nk, your Honor's
analys1s that we need to s1mply just move th1s case
forward. 1t's now been 27 months s1nce the compla1nt
was f1led. Your Honor wrote a lengthy deta1led
dec1s1on. My brothers now ra1se on the fourth t1me
they're tak1ng 1n the1r mot1on wh1ch 1s not before us,
but wh1ch 1s the mot1on to for leave to add even new
defenses. Th1s 1s now the1r fourth response to th1s
court, and they are now ask1ng to ra1se these new
defenses that were expl1c1tly and 1mpl1c1tly wa1ved,
and we br1efed that very clearly 1n our response to

the1r mot1on for leave to amend the1r second mot1on.

 

 

 

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They've wa1ved these 1ssues. They can't come back 1nto

th1s court every other week and say they‘ve got a new

defense. The law 1s clear.
THE COURT: Well those defenses -- defenses
have to be pleaded. And when an answer 1s f1led, 1f 1

deny the mot1on to d1sm1ss, an answer 1s f1led and they
can plead the1r defenses and then we'll deal w1th
those. E1ther by mot1ons for summary judgment or
whatever other mot1ons.

MR. STRACHMAN: In conclus1on, your Honor, 1
would just l1ke to ask that when your Honor feels 1t's
appropr1ate, now, or later today, or at another t1me.

1 would l1ke the Court to address some matters that
have been outstand1ng. The Hague request that we made,
for a Hague letter was f1led 1n July of 2000. It
s1mply requ1res the Court to s1gn the letter request1ng
the documents that we'd l1ke to have from the Israel1
Government. They can be transferred here. There's a
bureaucracy 1n Israel. The Just1ce M1n1stry would need
to get the records, we could share them w1th my brother
and we could get that underway. The d1scovery mot1ons
that we have pend1ng, as my Brother mentjoned,

d1scovery was f1led 1n January after we f1led our

.amended compla1nt. At some po1nt 1 would request that

your Honor allow us to deal w1th the mot1ons to compel

 

 

 

 

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and also the mot1ons for protect1ve orders that my
brother f1led. And lastly, Judge, we -- th1s Court
entered default aga1nst HAMAS, a co-defendant, 1n
September of 2000. There's some very s1gn1f1cant
reasons why we'd l1ke to move forward on a damage`
hear1ng. We renewed our request, 1 bel1eve 1n January
for hear1ng. My brothers d1d not object and

spec1f1cally 1nd1cated that they were not object1ng to

us go1ng forward on that. S1nce, recent events 1n the
last year, the Government ~- our Government has
conf1scated HAMAS assets. We'd l1ke to move forward to

obta1n judgment aga1nst HAMAS. And 1 would apprec1ate
1t 1f your Honor could cons1der these 1ssues wh1ch have
been outstand1ng for some t1me. Thank you.

THE COURT: Those are all matters that w1ll
be dealt w1th by the Mag1strate Judge after 1've ruled
on th1s mot1on to d1sm1ss.

1'm go1ng to take th1s matter under adv1sement and
1'm go1ng to wr1te another -- yet another op1n1on on
the subject. 1 want to po1nt out to you that the
Kl1nghoffer Case was brought under the Death On The
H1gh Seas Act, so that there was a statutory bas1s for
that act1on. Mr. Kl1nghoffer was thrown off the boat
1n the Med1terranean and so that was the bas1s for the

act1on.

 

 

 

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Here, now you have the Ant1-Terror1sm Statute and
the elements that Congress has set forth for proof of a
cla1m, and so you're rely1ng on the Ant1-Terror1sm
Statute. 1've already ruled that you've set forth a
cause of act1on under the Ant1-Terror1sm Statute.

All r1ght. 1'll take th1s matter under adv1sement
and 1'll wr1te an op1n1on. 1'll try to do that as
exped1t1ously as poss1ble, but 1've got some other
matters ahead of 1t and 1'll get to 1t when 1 can.

MR. STRACHMAN: Thank you, your Honor.
MR. SCHILLING: Thank you, your Honor~
THE COURT: Thank you.

THE CLERK: All rjse.

(R E C E 5 5 )

 

 

 

 

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C E R T 1 F 1 C A T 1 0 N

1 hereby cert1fy that the forego1ng 1s a correct

transcr1pt from the record of proceed1ngs 1n the

above-ent1tled matter.

QAWMJL 01 §2211152

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